       Case 1:01-cv-12257-PBS Document 3011-3 Filed 08/24/06 Page 1 of 5




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
IN RE PHARMACEUTICAL INDUSTRY )                        MDL No. 1456
AVERAGE WHOLESALE PRICE             )
LITIGATION                          )                  CIVIL ACTION: 01-CV-12257-PBS
____________________________________)
                                    )                  Judge Patti B. Saris
THIS DOCUMENT RELATES TO:           )
ALL ACTIONS                         )
____________________________________)

               PLAINTIFFS’ REPLY MEMORANDUM IN SUPPORT OF
              MOTION FOR LEAVE TO FILE AN AMENDED COMPLAINT

       Plaintiffs submit this Reply Memorandum in support of their Motion to Amend the

Complaint to reflect appropriate service of a Mass G.L. ch. 93A §9 demand letter on the

Defendants on July 10, 2006. This Reply is prompted by Defendant Aventis’ August 9, 2006,

letter in response to Plaintiffs’ July 10, 2006, demand letter.

       Aventis’ three-page, posturing, self-promotional response to Plaintiffs’ demand letter

underscores Plaintiffs’ claims that Aventis was not harmed; was well aware of Plaintiffs’ claims

prior to service of the demand letter; and that service of the demand letter at an earlier time

would have been completely futile.1

       In the Aug. 9 letter, Aventis claims that Plaintiffs’ demand letter is untimely and

deficient. Aventis then takes over two pages to explain how the evidence produced indicates that

Plaintiffs’ claims lack merit.2 By taking a gratuitous cheap shot at Plaintiffs’ theories and not


       1
         A copy of Aventis’ August 9, 2006, reply letter is attached hereto as Exhibit “A”. (the
“Aug. 9 letter”)
       2
         Not surprisingly, Aventis’ version of the facts is self serving and one-sided. Plaintiffs
will respond with the voluminous evidence of Aventis’ fraudulent conduct at the appropriate
time, but not in the context of their current motion to amend.
       Case 1:01-cv-12257-PBS Document 3011-3 Filed 08/24/06 Page 2 of 5




raising any discussion of settlement or resolution, Aventis’ response reveals that an earlier

demand letter would have been a meaningless exercise. Aventis’ continued insistence that an

earlier demand letter was required, which would lead to the dismissal of Plaintiffs’ claims, is

nothing more than a game of procedural “gotcha” which this Court should not tolerate.

       Aventis also claims that Plaintiffs’ demand letter is faulty because it fails to identify an

individual Massachusetts consumer. As discussed previously, Mass G.L. ch. 93A §9 requires a

demand letter for claims made by consumers, however, a similar demand letter is not required for

claims made by businesses. See Mass G.L. ch. 93A §11.

       Aventis cannot have it both ways. Aventis originally claimed that Plaintiffs should have

sent a demand letter prior to October 17, 2005, (when the TAMCC was filed). The TAMCC was

the first Complaint to allege a class that included Mass G.L. ch. 93A claims on behalf of

Massachusetts consumers (Class 3). However, Plaintiffs’ proposed representatives for Class 3

never included an individual consumer. Thus, there was no individual who could have been

identified in the demand letter.

       Aventis argues that the TAMCC claims on behalf of Massachusetts consumers triggered

the demand letter requirement. But once Plaintiffs sent a demand letter, Aventis objected to it

because it did not identify a Massachusetts consumer (although the class representative was a

business and not a consumer). Aventis’ argument is completely circular: Plaintiffs needed to

send a letter because they asserted claims on behalf of a class that included Massachusetts

consumers; but because Plaintiffs’ letter did not specifically identify by name a Massachusetts

consumer (even though the class representative is a business), the letter is deficient. This is

another variation on Aventis’ continuing game of procedural “gotcha.”


                                                  2
      Case 1:01-cv-12257-PBS Document 3011-3 Filed 08/24/06 Page 3 of 5




       As detailed in Plaintiffs’ Motion to Amend, this Court should allow the Plaintiffs to file

an Amended Complaint reflecting appropriate service of a Mass G.L. ch. 93A §9 demand letter.



Dated: August 24, 2006                       Respectfully submitted,



                                             By /s/ John A. Macoretta
                                             Jeffrey L Kodroff
                                             John A. Macoretta
                                             Spector, Roseman & Kodroff, P.C.
                                             1818 Market Street, Suite 2500
                                             Philadelphia, PA 19103
                                             Telephone: (215) 496-0300
                                             Facsimile: (215) 496-6611

                                             Thomas M. Sobol (BBO#471770)
                                             Edward Notargiacomo (BBO#567636)
                                             Hagens Berman Sobol Shapiro LLP
                                             One Main Street, 4th Floor
                                             Cambridge, MA 02142
                                             Telephone: (617) 482-3700
                                             Facsimile: (617) 482-3003
                                             LIAISON COUNSEL

                                             Steve W. Berman
                                             Sean R. Matt
                                             Robert F. Lopez
                                             Hagens Berman Sobol Shapiro LLP
                                             1301 Fifth Avenue, Suite 2900
                                             Seattle, WA 98101
                                             Telephone: (206) 623-7292
                                             Facsimile: (206) 623-0594

                                             Elizabeth Fegan
                                             Hagens Berman Sobol Shapiro LLP
                                             60 W. Randolph Street, Suite 200
                                             Chicago, IL 60601
                                             Telephone: (312) 762-9235
                                             Facsimile: (312) 762-9286


                                                3
Case 1:01-cv-12257-PBS Document 3011-3 Filed 08/24/06 Page 4 of 5




                             Marc H. Edelson
                             Allan Hoffman
                             Hoffman & Edelson
                             45 West Court Street
                             Doylestown, PA 18901
                             Telephone: (215) 230-8043
                             Facsimile: (215) 230-8735

                             Kenneth A. Wexler
                             Jennifer F. Connolly
                             Wexler Toriseva Wallace LLP
                             One North LaSalle Street, Suite 2000
                             Chicago, IL 60602
                             Telephone: (312) 346-2222
                             Facsimile: (312) 346-0022

                             Shanin Specter
                             Donald E. Haviland, Jr.
                             Kline & Specter, P.C.
                             1525 Locust Street, 19th Floor
                             Philadelphia, PA 19102
                             Facsimile: (215) 772-1359
                             Telephone: (215) 772-1000

                             CO-LEAD COUNSEL FOR PLAINTIFFS




                                4
       Case 1:01-cv-12257-PBS Document 3011-3 Filed 08/24/06 Page 5 of 5




                                   CERTIFICATE OF SERVICE



        I hereby certify that I, John A. Macoretta, an attorney, caused a true and correct copy of

the foregoing PLAINTIFFS’ REPLY MEMORANDUM IN SUPPORT OF MOTION FOR

LEAVE TO FILE AN AMENDED COMPLAINT to be delivered to all counsel of record by

electronic service by sending on August 24, 2006, a copy to LexisNexis File & Serve for posting

and notification to all parties.


                                              By        /s/ John A. Macoretta
                                                            John A. Macoretta
